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     Senior Litigator
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 5
 6
     Attorney for Defendant
 7   BEVERLY LATTICE BARRON
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 9
                          IN THE UNITED STATES DISTRICT COURT
10
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,       )       No. CR-S-07-236 FCD
14                                   )
                    Plaintiff,       )
15                                   )       STIPULATION AND ORDER TO CONTINUE
          v.                         )       STATUS CONFERENCE AND SET FOR
16                                   )       CHANGE OF PLEA
     BEVERLY LATTICE BARRON,         )
17                                   )       Date: September 22, 2008
                    Defendant.       )       Time: 10:00 a.m.
18                                   )       Judge: Hon. Frank C. Damrell, Jr.
     _______________________________ )
19
20          Beverly Lattice Barron, by and through her counsel, Caro Marks,
21   and the United States of America, by and through its counsel, Jason
22   Hitt, hereby agree and stipulate to continue the current status
23   conference date of September 8, 2008 to September 22, 2008 at 10:00
24   a.m.    The reason for this stipulation that there is a plea agreement in
25   this case but it has not been put in writing.          The client will need to
26   review the agreement once it is in writing, and defense counsel needs
27   time to receive the plea agreement and travel to the Nevada City jail
28   to review it with the defendant. It is anticipated that on September
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 1   22, 2008, a change of plea will be entered.
 2        The parties agree to exclude time under the Speedy Trial Act to
 3   allow the reasonable time necessary for effective preparation of
 4   counsel, taking into account the exercise of due diligence.              18 U.S.C.
 5   § 3161(h)(8)(B)(iv).       The parties stipulate and agree that the
 6   interests of justice served by granting this advancing outweigh the
 7   best interests of the public and the defendant in a speedy trial.             18
 8   U.S.C. § 3161(h)(8)(A).
 9             IT IS THEREFORE STIPULATED that the period from the signing of
10   this Order up to and including September 22, 2008 be excluded in
11   computing the time within which trial must commence under the Speedy
12   Trial Act, pursuant to       18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code
13   T4, for preparation of counsel.
14
15   Dated:    September 4, 2008
                                               Respectfully submitted,
16
                                               DANIEL J. BRODERICK
17                                             Federal Defender
18
                                               /s/ Caro Marks
19                                             ________________________________
                                               CARO MARKS
20                                             Attorney for Defendant
                                               BEVERLY LATTICE BARRON
21
                                               /s/ Jason Hitt
22                                             ________________________________
                                               Jason Hitt
23                                             Assistant United States Attorney
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     Stip and order for Barron                -2-
           Case 2:07-cr-00236-KJM Document 39 Filed 09/04/08 Page 3 of 3


 1                                        ORDER

 2        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is

 3   ordered that the September 8, 2008, status conference hearing be

 4   continued to September 22, 2008, at 10:00 a.m.        Based on the

 5   representation of defense counsel and good cause appearing there from,

 6   the Court hereby finds that the failure to grant a continuance in this

 7   case would deny defense counsel reasonable time necessary for effective

 8   preparation, taking into account the exercise of due diligence.            The

 9   Court finds that the ends of justice to be served by granting a

10   continuance outweigh the best interests of the public and the defendant

11   in a speedy trial.   It is ordered that the time up to, and including,

12   the September 22, 2008 status conference shall be excluded from

13   computation of time within which the trial of this matter must be

14   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §

15   3161(h)(8)(A) and (B)(iv) and Local Codes T-4 and E, to allow defense

16   counsel reasonable time to prepare.

17
18   Dated: September 4, 2008

19                                           _______________________________________
                                             FRANK C. DAMRELL, JR.
20                                           UNITED STATES DISTRICT JUDGE

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     Stip and order for Barron             -3-
